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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Kevin Gill

Plaintiff(s), Civil No. |1:24-cv-10650 |

Vv.

Game Changer Wrestling, LLC, et al.

Defendant(s).

DISCLOSURE STATEMENT! PURSUANT TO FED. R. CIV. P. 7.1(a)(2)

Individual? State(s) of Citizenship
Corporation? | Neuron |
Partnership*

Limited Liability Company®
Other

Kevin Gill

Individual State(s) of Citizenship
Corporation

Partnership |
Limited Liability Company
Other

Individual State(s) of Citizenship
Corporation

Partnership

Limited Liability Company
Other

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In cases where one or more parties are partnerships or LLCs, list all partners or members and their
citizenship. This space should also be used where there are more than three parties. Additional sheets
may be added as needed.

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' This statement shall be filed by each party.

.C. § 1746 and Fed. R. Civ. P. 11, | certify that the foregoing is true and correct.

Date:

2 28 U.S.C. § 1332(a)(1); McNair v. Synapse Grp. Inc., 672 F.3d 213, 219 n.4 (3d Cir. 2012) (citing
Krasnov v. Dinan, 465 F.2d 1298, 1300 (3d Cir. 1972) (“[Ml]ere residency in a state is insufficient for
purposes of diversity [of citizenship].”)). The natural person must be domiciled in the state and a citizen of

that state. See Gilbert v. David, 235 U.S. 561 (1915); Lincoln Ben. Life Co. v. AEI Life, LLC, 800 F.3d 99
(3d Cir. 2015).

3 28 U.S.C. § 1332(c)(1) (“[A] corporation shall be deemed to be a citizen of every State and foreign
state by which it has been incorporated and of the State or foreign state where it has its principal place of
business . . .”); Hertz Corp. v. Friend, 559 U.S. 77 (2010); S. Freedman & Co., v. Raab, 180 F. App’x 316,
320 (3d Cir. 2006) (explaining that “‘[iJn order to adequately establish diversity jurisdiction, a complaint
must set forth with specificity a corporate party’s state of incorporation and its principal place of business,”
and affirming dismissal of complaint alleging that corporation maintained “a principal place of business,”
rather than “its principal place of business” (quoting Joiner v. Diamond M Drilling Co., 677 F.2d 1035,
1039 (5th Cir. 1982))). The parties are directed to list the state of incorporation and principal place of
business of the corporation.

+ A partnership, as an unincorporated entity, takes on the citizenship of each of its partners. Zambelli
Fireworks MFG. Co. v. Wood, 592 F.3d 412, 419 (3d Cir. 2010) (citation omitted). The parties are directed
to list each partner and its citizenship.

> The citizenship of an LLC is determined by the citizenship of each of its members. See Carden v.
Arkoma Assocs., 494 U.S. 185 (1990); Lincoln Ben. Life Co. v. AEI Life, LLC, 800 F.3d 99, 105 (3d Cir.
2015). The parties are directed to list each member and its citizenship. If any member is itself'a partnership,
limited liability company, or other unincorporated association, its partners or members and their citizenship
must be set forth separately. See Zambelli Fireworks MFG. Co. v. Wood, 592 F.3d 412, 420 (3d Cir. 2010)
(“And as with partnerships, where an LLC has, as one of its members, another LLC, the citizenship of
unincorporated associations must be traced through however many layers of partners or members there may
be to determine the citizenship of the LLC.”)
